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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

JOHN DOE                                                                                  PLAINTIFF

VS.                                                  CIVIL ACTION NO: 3:24-cv-547-HTW-LGI

JANE ROE                                                                                DEFENDANT


  MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE
    COMPLAINT UNDER PSEUDONYM, TO PROCEED PSEUDONYMOUSLY,
               AND TO FILE MATERIALS UNDER SEAL


        Plaintiff files this memorandum in support of his motion pursuant to Fed. R. Civ. P. 5.2,

L.U. Civ. R. 5.2, and L.U. Civ. R. 79 for leave to file his Complaint under a pseudonym, to

proceed in this action pseudonymously, and to file under seal (or with redactions) any materials

that would reveal the parties’ identities.

                                         INTRODUCTION

        Defendant has threatened to “publicly file” a lawsuit against Plaintiff alleging false

claims of sexual misconduct that allegedly occurred years ago unless Plaintiff pays her millions

of dollars. Plaintiff, a celebrity and public figure, is therefore forced to file this lawsuit to

prevent the irreparable harm that such a “publicly file[d]” lawsuit would have on his reputation,

family, career and livelihood. However, filing under his name in the public docket would cause

the same irreparable harm to Plaintiff’s reputation and goodwill that he seeks to avoid through

this lawsuit. The only way to prevent that irreparable harm is to allow Plaintiff to file his

complaint under seal, to proceed pseudonymously, and to file any personally identifying exhibits

under seal or with redactions sufficient to protect the parties’ identities.
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                                              FACTS

       Plaintiff is a well-known celebrity and public figure who resides in Tennessee. Defendant

worked professionally with Plaintiff as an independent contractor for approximately 15 years

before she relocated from Tennessee to Mississippi in May 2020. Soon after moving to

Mississippi, Defendant began demanding financial assistance from Plaintiff. Plaintiff acquiesced

for some time, but when Defendant demanded salaried employment and medical benefits

Plaintiff could no longer agree. When Plaintiff refused to provide additional financial assistance

to Defendant, she responded with false and outrageous allegations of sexual misconduct against

Plaintiff she claims occurred years ago.

       On July 17, 2024, an attorney acting at Defendant’s direction sent Plaintiff and others

who work with Plaintiff a demand letter alleging a litany of sexual misconduct by Plaintiff over

the years ranging from allegations of sexual “grooming,” creation of a sexually hostile work

environment, unwanted sexual touching, and sexual assault. Defendant also alleged a belief that

Plaintiff planned to hire someone to murder her. Defendant’s July 17 letter was the first time

Plaintiff learned of these allegations, none of which has any basis in fact.

       Defendant’s July 17 letter threatened to “publicly file” a draft civil complaint against

Plaintiff enclosed with the letter repeating the same fabricated allegations from the demand letter

unless Plaintiff agreed to pay Defendant millions of dollars not to file the suit. The letter referred

to various celebrity sexual misconduct lawsuits featuring multi-million dollar jury awards.

       In a follow-up letter dated August 23, 2024, Defendant, through her attorney, offered to

refrain from publicly filing her false and defamatory lawsuit against Plaintiff in exchange for a

multi-million dollar payment. She threatened that if Plaintiff failed to meet this demand, he

would face exposure of many millions of dollars “based on [his] net worth.”




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       Defendant’s allegations of sexual misconduct against Plaintiff are wholly untrue.

Nevertheless, the public filing of these untrue allegations will substantially and irreparably

damage Plaintiff’s good reputation, his business, and his relationships with family and friends.

Even though Plaintiff is confident the Court will find Defendant’s false allegations to be

meritless, the public disclosure of his name, Defendant’s name, and Defendant’s scandalous

allegations alone will result in the irreparable loss of Plaintiff’s goodwill and reputational harm

in his industry. No amount of money damages could adequately reimburse Plaintiff for that loss

of goodwill and reputational harm.

                                           ARGUMENT

       Plaintiff should be permitted to initiate and proceed in this action under a pseudonym and

file personally identifying materials containing Defendant’s false and harmful allegations under

seal because, among other reasons, Plaintiff filed this action to prevent the irreparable harm to

his reputation, family, career and livelihood that would result from the public disclosure of

Defendant’s malicious and false statements. Anything less than the relief requested in this

motion will cause the irreparable harm this action was filed to prevent. The public’s general

interest in open judicial proceedings is substantially outweighed by the need to prevent the

irreparable harm to Plaintiff if Defendant’s false statements are disclosed to the public.

       District courts often exercise their discretion in cases such as this, where the public filing

of the parties’ names will cause irreparable harm, to “accommodate a plaintiff’s need to proceed

anonymously through the use of a fictitious name.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir.

1981). “The public has a common law right of access to judicial records,” but “[t]his right of

access, however, is ‘no absolute.’” Sealed Appellant v. Sealed Appellee, 2024 WL 980494, at *2

(5th Cir. Mar. 7, 2024) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).

Litigating under a pseudonym and sealing or redacting identifying information in cases such as

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this is a commonly accepted practice in this Court. See, e.g., Doe v. Hood, 2017 WL 2408196, at

*1 (S.D. Miss. June 2, 2017); Doe v. Univ. of Miss., 2021 WL 6752261, at *1–2 (S.D. Miss. Apr.

14, 2021). “‘Every court has supervisory power over its own records and files,’ and, when

appropriate, courts may order that case documents be filed under seal.” Sealed Appellant, 2024

WL 980494, at *2 (citations omitted).

       Both the “pseudonymity” and the sealing/redaction analysis require “the court to balance

the private and public interests.” Sealed Appellant, 2024 WL 980494, at *3. “[T]here is ‘no hard

and fast formula for ascertaining whether a party may sue anonymously,’ and “‘[t]he decision

requires a balancing of considerations calling for maintenance of a party’s privacy against the

customary and constitutionally-embedded presumption of openness in judicial proceedings.’” Id.

(quoting Stegall, 653 F.2d at 186). Of course, the court should not engage in sealing on a

wholesale basis, but, as the Fifth Circuit has explained, the standards for “the public’s right to

attend trials and the public’s right to know the identity of the parties [are] not perfectly

symmetrical.” Stegall, 653 F.3d at 185. “Party anonymity does not obstruct the public’s view of

the issues joined or the court’s performance in resolving them. The assurance of fairness

preserved by public presence at a trial is not lost when one party’s cause is pursued under a

fictitious name.” Id. Thus, the district court may not “appl[y] a standard that too narrowly define

[s] the privacy interests that could justify sealing,” and it must “consider whether alternative

measures, such as redaction or pseudonymity, would … sufficiently protect the privacy interests

at issue.” Sealed Appellant, 2024 WL 980494, at *3. The parties in a “very private matter” such

as this have a legitimate privacy interest in proceeding under a pseudonym. Stegall, 653 F.2d at

185.

       Forty-five years ago, the Fifth Circuit identified “three common factors” present when

pseudonymity was appropriate: (1) plaintiffs “challenge governmental activity,” (2) “prosecution

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of the suit compels plaintiffs to disclose information ‘of the utmost intimacy,’” and (3) “plaintiffs

were compelled to admit their intention to engage in illegal conduct, thereby risking criminal

prosecution.” Stegall, 653 F.2d at 185 (citing S. Methodist Univ. Ass’n of Women Law Students

v. Wynn & Jaffee, 599 F.2d 707 (5th Cir. 1979)). Just three years later, however, the Fifth Circuit

made clear that it “would be a mistake to distill a rigid, three-step test for the propriety of party

anonymity.” Id. It held that these three factors are not “prerequisites to bringing an anonymous

suit” and reversed a district court’s denial of a pseudonym motion based on all three factors not

being satisfied. Id. at 186. The Fifth Circuit reasoned that psuedonymity is appropriate in cases

such as this involving a “quintessentially private matter,” where “[a]lthough [they] do not

confess either illegal acts or purposes,” plaintiffs “by filing suit ma[k]e revelations about their

personal beliefs and practices that are shown to have invited an opprobrium analogous to the

infamy associated with criminal behavior.” Id.

       Subsequent precedent makes clear that “[a] party need not prove all three [Stegall factors]

to proceed anonymously.” Univ. of Miss., 2021 WL 6752261, at *1. Just this year in Sealed

Appellant, the Fifth Circuit held that the district court abused its discretion in unsealing the case

file and not protecting the parties’ anonymity by “retroactively pseudonymizing the record.”

Sealed Appellant, 2024 WL 980494, at *3. That case, like this one, involved allegations of sexual

misconduct. Id. at *1. The district court unsealed the case on the basis that there was nothing

“lewd or graphic” in the record, but the Fifth Circuit held that “whether material is ‘lewd or

graphic’ is underinclusive.” Id. at *2. The Court held that the district court should have

considered whether the filings “‘might have become a vehicle for improper purposes,’ such as

when records are ‘used to gratify private spite or promote public scandal.’” Id. (quoting Nixon,

435 U.S. at 598). It held the “district court must also consider whether alternative measures, such

as redaction or pseudonymity, would instead sufficiently protect the privacy interests at issue.”

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Id. In short, the “district court … applied a standard that too narrowly defined the privacy

interests that could justify sealing, and it failed to explain why any other asserted privacy

interests did not outweigh the presumption of public access.” Id. And unlike in this case, only

one of the three factors—“prosecution of the suit compelled plaintiffs to disclose information ‘of

the utmost intimacy’”—was present. Id.

       Plaintiff has a compelling privacy interest in proceeding anonymously and filing any

documents that would reveal his identity under seal or with redactions sufficient to protect his

identity. Two of the three Stegall factors as subsequently interpreted by the Fifth Circuit are

present here. First, Plaintiff’s prosecution of the action compels disclosure of “information ‘of

the utmost intimacy.’” Stegall, 653 F.2d at 185. Like many other cases where this court

permitted the parties to proceed under pseudonyms, the sexual misconduct allegations at the

heart of this case are, of course, “very private, intimate relations,” and “given the level of

intimacy involved in the details of this case, [the parties’] right to privacy with regard to events

described within the complaint outweighs the public’s right to know [their] identity.” Univ. of

Miss., 2021 WL 6752261, at *2 (quoting Doe v. Univ. of Miss., 2018 WL 1703013, at *2 (S.D.

Miss. Apr. 6, 2018)) (both cases ordering pseudonyms for accuser and accused in case involving

alleged sexual misconduct).

       The circumstances of this case compel pseudonymity even more than in other alleged

sexual misconduct cases previously decided by this Court. See Univ. of Miss., 2021 WL

6752261, at *2; Univ. of Miss., 2018 WL 1703013, at *2. Plaintiff is a well-known and highly-

regarded celebrity whose success, in both business and his personal life, is fueled by his public

image and goodwill. Defendant knows this, and she is attempting to extort him by threatening to

“publicly file” a lawsuit alleging untrue allegations of sexual misconduct and sexual assault

unless Plaintiff pays her millions of dollars. As in Sealed Appellant, Defendant has shown she is

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likely to use public filings in this cases as “a vehicle for improper purposes” including to “gratify

private spire [and] promote public scandal.” Sealed Appellant, 2024 WL 980494, at *2 (quoting

Nixon, 435 U.S. at 598). Moreover, none of Defendant’s allegations is true, but even the public

filing of such allegations will substantially and irreparably damage Plaintiff’s well-earned good

reputation, his business, and his relationships with family and friends.

       Second, Defendant accuses Plaintiff of criminal behavior, including sexual assault and

potentially attempted murder. Just as in Stegall, Plaintiff does “not confess either illegal acts or

purposes;” quite the opposite. Stegall, 653 F.2d at 186. But Defendant alleges Plaintiff assaulted

her and may murder her, which is more than sufficient under this Court’s precedent. See Univ. of

Miss., 2021 WL 6752261, at *2 (“Roe’s sexual misconduct claims against him, if believed, may

be construed by some to constitute criminal conduct”). These baseless allegations “invite[] an

opprobrium analogous to the infamy associated with criminal behavior.” Id. Even when

Defendant’s allegations are proven untrue, the “opprobrium” that will result from the public

filing of Plaintiff’s identity and Defendant’s allegations will irreparably damage Plaintiff’s well-

earned good reputation, his career, and his relationships with family and friends.

       Finally, as it pertains to privacy interests, the Court should consider the unique and dire

circumstances under which Plaintiff files this lawsuit. The reason Plaintiff has filed this lawsuit

is to prevent Defendant from “publicly filing” her untrue allegations of sexual misconduct

against him. Plaintiff could either pay millions of dollars to prevent the irreparable damage that

would result from Defendant publicly filing her untrue allegations or attempt to have this Court

decide the issues in the case in a court of law rather than the court of public opinion. The

circumstances of this case provide a compelling basis for allowing the parties to proceed

anonymously until a jury decides the falsity of Defendant’s allegations.




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        Conversely, there is little if any legitimate public interest in the disclosure of Plaintiff’s

and Defendant’s identities. Defendant’s allegations of years-old sexual misconduct are wholly

untrue. The public has no legitimate interest in allegations of sexual misconduct that have no

basis in fact and that are made for the sole purpose of extortion. The public’s interest in the

disclosure of the parties’ identities would be nothing more than a prurient curiosity to uncover

untrue, salacious gossip.

        Permitting the parties to proceed under pseudonyms and sealing or redacting certain

documents that reveal their identities is narrowly tailored to protect the parties’ privacy and other

interests without unduly interfering with the public’s right to an open trial. As the Fifth Circuit

explained in Stegall, there is a stark difference between eliminating “the public’s right to attend

trials” and disclosing to the public “the identity of the parties.” Stegall, 653 F.2d at 185. “Party

anonymity does not obstruct the public’s view of the issues joined or the court’s performance in

resolving them. The assurance of fairness preserved by public presence at a trial is not lost when

one party’s cause is pursued under a fictitious name.” Id. As in Stegall, Sealed Appellant, and the

University of Mississippi cases, protecting the compelling privacy and other interests of the

parties through mutual pseudonymity in no way precludes the public from following the court’s

resolution of the claims in the lawsuit. By contrast, pseudonymity is the only way to protect

Plaintiff’s interests. Anything less will irreparably damage Plaintiff’s reputation, goodwill,

career, and family.

        Finally, as the Fifth Circuit instructed in Sealed Appellant, “courts should reevaluate

pseudonymity as the litigation moves along.” Sealed Appellant, 2024 WL 980494, at *3. There

are compelling reasons to protect the identities of the parties at this stage of the litigation. If

those reasons erode as “litigation moves along,” the Court may then order disclosure of the

parties’ identities as it deems appropriate.

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                                         CONCLUSION

       For the reasons discussed above, an order protecting the parties’ identities from

disclosure is warranted and necessary. Plaintiff filed this case to prevent the irreparable damage

he will suffer if Defendant’s false allegations of sexual misconduct are disclosed to the public.

Nothing short of anonymity will protect Plaintiff from that irreparable harm, and that impending

irreparable harm substantially outweighs the public’s interest in disclosure of untrue allegations

of long-ago sexual misconduct against the Plaintiff. Thus, Plaintiff respectfully requests leave to

file his complaint under pseudonym and to file under seal (or with redactions) any materials that

would reveal the parties’ identities.

       Dated: September 13, 2024.

                                              Respectfully submitted,

                                              JOHN DOE

                                              By: /s/ M. Patrick McDowell
                                                  M. Patrick McDowell,
                                                  One of His Attorneys

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